                  Case 2:19-cv-08148 Document 4 Filed 09/19/19 Page 1 of 1 Page ID #:24
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THE COCA-COLA COMPANY, a Delaware                                                                        3*-28)6)78)(4%68-)7
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